·,.AO 442      (Rev. 10/03) Warrant for Arrest



                                            UNITED STATES DISTRICT COURT
                                          Eastern                 District of             Tennessee                                      (Agency: DEA)


        UNITED STATES OF AMERICA
                                                                                                  WARRANT FOR ARREST
                                V.
                                                                                Case Number: 2:19-CR- I~~
             DUSTIN AMOS BARNETTE                                                            SEALED       f-< ECEIVED BY :_ ~                        y:
                                                                                                                         ,,1,TE: \:).. \o.~ t"'    l lil/lE:\:ru
To: The United States Marshal
                                                                                                                                  U.S. MARSHAL EiTN
    and any Authorized United States Officer
                                                                                                                                   GREENEVILLE, TN


            YOU ARE HEREBY COMMANDED to arrest                                                  DUSTIN AMOS BARNETTE
                                                                                                                           Name


and bring him or her forthwith to the nearest magistrate judge to answer a(n)

x Indictment         O Information          •    Complaint   O   Order of     •     Probation             0         Supervised Release       0    Violation
                                                                 court              Violation                       Violation Petition            Notice
                                                                                    Petition

charging him or her with:
Conspiracy to distribute 50 grams or more ofmethamphetamine, a Schedule II controlled substance (21 U.S.C. §§ 846, 841(a)(l) and
(b)(l)(A)); and
Possess with the intent to distribute 5 grams or more of methamphetamine, a Schedule II controlled substance (21 U.S.C. §§
84l(a)(l) and (b)(l)(B)




(as more fully set out in the attached indictment)
                                                                                                    I I   ..... \   II
in violation of Title            See above         United States Code, Section(s)           ,
                           ------                                                       -,--------------------
            JUt-1 '\J L iVlt.=Ui:::AKIS, CLERK                               0{(j(Jy_
                                                                                Signature of Issuing Officer


                                                                                  wle_ . In ,
                                                                                Date and Location
                                                                                                     2019 ~t Gre~neville, Tennessee




                                                                      RETURN
   This warrant was received and executed with the arrest of the ~ e d defendant at

                                       K rrJ 6'5 f0/2--~                 1
DATE RECEIVED                  NAME AND TITLE OF ARRESTING OFFICER                        SIGNATURE OF ARRESTING OFFICER
DATE    Ft
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            Case
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                    \ --::i..4 C\ \      Document 107 Filed 12/20/19 Page 1 of 1 PageID #: 173
